                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                               )    Chapter 7
    In re:                                                     )
                                                               )    Case No. 23-10576 (TMH)
    CHRISTMAS TREE SHOPS, LLC, et al.,1                        )
                                                               )    (Jointly Administered)
                                                               )
                                      Debtors.                 )    Ref. Docket Nos. 569, 570 & 571
                                                               )

                                                                                Objection Deadline: At the hearing
                                                                   Hearing Date: August 31, 2023 at 11:00 a.m. (ET)

        NOTICE OF HEARING REGARDING MOTION OF GEORGE L. MILLER,
        CHAPTER 7 TRUSTEE, PURSUANT TO SECTIONS 105, 363, AND 365 OF
      THE BANKRUPTCY CODE, BANKRUPTCY RULES 2002, 6004, AND 6006, AND
        LOCAL RULE 6004-1, FOR ENTRY OF AN ORDER AUTHORIZING SALE
         AND ASSUMPTION AND ASSIGNMENT OF SOMERVILLE, MA LEASE
            (STORE #7028) TO RAYMOURS FURNITURE COMPANY, INC.

                   PLEASE TAKE NOTICE that on August 25, 2023, George L. Miller, the chapter

7 trustee (the “Trustee”) of the above-captioned debtors (collectively, the “Debtors”), filed the

Motion of George L. Miller, Chapter 7 Trustee, Pursuant to Sections 105, 363, and 365 of the

Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-1, for Entry of

an Order Authorizing Sale and Assumption and Assignment of Somerville, MA Lease (Store #7028)

to Raymours Furniture Company, Inc. [Docket No. 569] (the “Motion”) and Motion to Shorten

Notice and Schedule Expedited Hearing on Motion of George L. Miller, Chapter 7 Trustee,

Pursuant to Sections 105, 363, and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004,

and 6006, and Local Rule 6004-1, for Entry of an Order Authorizing Sale and Assumption and

Assignment of Somerville, MA Lease (Store #7028) to Raymours Furniture Company, Inc. [Docket

No. 570] (the “Motion to Shorten”) with the United States Bankruptcy Court for the District of


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      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).


DOCS_LA:350826.1 57097/001
Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Bankruptcy

Court”). A copy of the Motion and Motion to Shorten were previously served upon you.

               PLEASE TAKE FURTHER NOTICE that on August 25, 2023, the Bankruptcy

Court entered the Order Granting Motion to Shorten Notice and Schedule Expedited Hearing on

Motion of George L. Miller, Chapter 7 Trustee, Pursuant to Sections 105, 363, and 365 of the

Bankruptcy Code, Bankruptcy Rules 2002, 6004, and 6006, and Local Rule 6004-1, for Entry of

an Order Authorizing Sale and Assumption and Assignment of Somerville, MA Lease (Store #7028)

to Raymours Furniture Company, Inc. [Docket No. 571] (the “Order Shortening Notice”) on the

Motion to Shorten. A copy of the Order Shortening Notice is attached hereto as Exhibit A.

               PLEASE TAKE FURTHER NOTICE that any response or objection to the entry

of an order with respect to the relief sought in the Motion must be made at the hearing on August

31, 2023 at 11:00 a.m. (Eastern time).

               PLEASE TAKE FURTHER NOTICE that if you choose to file a written

response or objection prior to the hearing, you must at the same time serve a copy of the response

or objection upon: (a) counsel for the Trustee, Pachulski Stang Ziehl & Jones LLP, 919 N. Market

Street, 17th Floor, Wilmington, DE 19801 (Attn: Bradford J. Sandler and Colin R. Robinson)

bsandler@pszjlaw.com, crobinson@pszjlaw.com; (b) the U.S. Trustee; Benjamin A. Hackman,

Office of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE

19801, benjamin.a.hackman@usdoj.gov; and (c) all parties requesting notice pursuant to

Bankruptcy Rule 2002.

               PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE MOTION WILL BE HELD ON AUGUST 31, 2023 AT

11:00 A.M. (EASTERN TIME) BEFORE THE HONORABLE THOMAS M. HORAN,

UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED STATES
BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET

STREET, 3RD FLOOR, COURTROOM NO. 5, WILMINGTON, DELAWARE 19801.

Dated: August 24, 2023
                                PACHULSKI STANG ZIEHL & JONES LLP

                                /s/ Colin D. Robinson
                                Bradford J. Sandler (DE Bar No. 4142)
                                Colin R. Robinson (DE Bar No. 5524)
                                Peter J. Keane (DE Bar No. 5503)
                                Edward A. Corma (DE Bar No. 6718)
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                                Proposed Counsel for the Chapter 7 Trustee
